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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division

  E.I. du PONT de NEMOURS AND         )
  COMPANY,                            )
                                      )
              Plaintiff,              )
                                      )
  v.                                  )                Civil Action No. 3:09CV00058
                                      )
  KOLON INDUSTRIES, INC.,             )
                                      )
              Defendant.              )
                                      )
  ____________________________________)


            PLAINTIFF E. I. DU PONT DE NEMOURS AND COMPANY’S
         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF ITS
                         MOTION FOR ASSET FREEZE

         Plaintiff E.I. du Pont de Nemours and Company (“DuPont”), by counsel, respectfully

  submits this memorandum in support of its Motion for an Asset Freeze.

                                         INTRODUCTION

         Following a seven-week trial, the jury returned a verdict in favor of DuPont finding that

  Kolon Industries, Inc. (“Kolon”) misappropriated and used at least 149 trade secrets relating to

  Kevlar® (the “DuPont Trade Secrets”). (Jury Verdict, D.I. 1514.) The jury found that Kolon

  misappropriated each of those 149 trade secrets willfully and with malice. (Id.) The jury

  awarded damages in the amount of $919.9 million. (Id.) The Court has entered judgment on the

  jury’s verdict in favor of DuPont and against Kolon. (D.I. 1515.)

         Given Kolon’s malicious theft of the DuPont Trade Secrets and its conduct in this

  litigation (e.g., spoliation of evidence and game playing with witnesses), DuPont is justifiably

  concerned that Kolon will take action to thwart the verdict. Therefore, DuPont seeks to enjoin

  Kolon’s transfer or dissipation of any of its assets, regardless of where those assets may be
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  located or what form they may take. Absent this injunction, Kolon – a Korean company with the

  vast majority of its assets located outside the United States – could essentially render the

  judgment meaningless by hiding its global assets.1

         DuPont seeks the following relief:

                        An order limiting Kolon’s ability to transfer assets or funds in
                         excess of $50,000 without prior written approval of the Court; and

                        Establishing a process by which Kolon can obtain Court approval
                         for a transfer of assets or funds.

                                             ARGUMENT

  I.     THE COURT IS AUTHORIZED TO ENJOIN KOLON’S DISSIPATION OR
         TRANSFER OF ASSETS.

         Based on its inherent equity power and under the All Writs Act, 28 U.S.C. § 1651(a), the

  Court may enter an order to preserve Kolon’s assets and prevent Kolon from frustrating the

  Court’s judgment. See In re Uranium Antitrust Litigation, 617 F.2d 1248, 1259-61 (7th Cir.

  1980). In Uranium Antitrust, the Seventh Circuit affirmed a district court’s asset-freeze

  injunction against various defendants following the district court’s entry of a default judgment in

  favor of plaintiffs on liability, but before a hearing on the amount of damages had occurred. Id.

  at 1252, 1259-61. The district court’s injunction prohibited the defendants from transferring

  assets without prior approval of the Court. Id. at 1258-59 (citing United States v. First National

  City Bank, 379 U.S. 378 (1965)). See also United States ex rel. Rahman v. Oncology Associates,

  P.C., 198 F.3d 489, 496 (4th Cir. 1999).

         Although the injunction in Uranium Antitrust did not freeze assets outside the United

  States, the court explained that it “was empowered to enter all equitable orders necessary to

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   The injunction would remain in effect until such time as the Court deems it appropriate, for
  example, if and when Kolon posts a supersedeas bond.


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  preserve [its] judgment.” 617 F.2d at 1259. Indeed, the United States Supreme Court has held

  that district courts have the authority to issue injunctions relating to foreign property owned or

  controlled by the parties over which it has jurisdiction. As the Supreme Court observed:

                   [o]nce personal jurisdiction of a party is obtained, the District
                   Court has authority to order it to “freeze” property under its
                   control, whether the property be within or without the United
                   States.

  First National City Bank, 379 U.S. at 384-85. Indeed, other district courts have compelled

  defendants to bring international assets into the United States or have frozen international assets

  in cases in which such relief was necessary. See, e.g., Fed. Trade Comm’n v. Affordable Media,

  LLC, 179 F.3d 1228, 1233,1239 (9th Cir. 1999) (affirming enforcement of a district court’s

  injunction requiring defendants to transfer assets in foreign countries into the United States);

  Fed. Trade Comm’n v. SlimAmerica, Inc., 77 F.Supp.2d 1263, 1276-77 (S.D. Fla. 1999) (same).

  In this case, to give any effect to this Court’s judgment and to preserve it, the Court should not

  only freeze Kolon’s United States assets and funds, but also its assets and funds outside the

  United States.

         In particular, Kolon should be enjoined from transferring or dissipating assets that relate

  specifically to its theft of the DuPont Trade Secrets. When a party seeks equitable relief in

  relation to specific assets, an injunction restricting the defendant’s alienation of those assets is

  warranted even if those assets are located outside the United States. See Republic of the

  Philippines v. Marcos, 862 F.2d 1355, 1363-64 (9th Cir. 1988) (enjoining the transfer of certain




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  assets “wherever they are located”); Reebok Int’l Ltd. v. Marnatech Enter., Inc., 970 F.2d 552,

  559 (9th Cir. 1992) (affirming extraterritorial asset freeze).2

         Here, DuPont seeks both monetary and equitable remedies related to Kolon’s theft of the

  DuPont Trade Secrets. Accordingly, Kolon should be enjoined from transferring or dissipating

  assets that relate specifically to the subject of DuPont’s claims for misappropriation and theft of

  trade secrets. Kolon’s misappropriation of the DuPont Trade Secrets has tainted those assets.

  For example, Kolon’s para-aramid plant in Korea was built based on the DuPont Trade Secrets

  and is therefore permeated by the DuPont Trade Secrets. Likewise, the assets derived or

  associated with the plant’s production are permeated by Kolon’s trade secret theft. Kolon should

  be enjoined from transferring ownership of the plant and the other assets associated with its para-

  aramid business. Moreover, should Kolon transfer its para-aramid plant before DuPont can

  enforce the anticipated injunctive relief, DuPont would not be able to ensure against further

  disclosure of its trade secrets, including by any potential new owner of the plant. Moreover, any

  revenue generated by the sale of Heracron® should be frozen as it is a direct product of Kolon’s

  misappropriation.




  2
    DuPont anticipates that Kolon will cite Grupo Mexicano de Desarrollo, S.A. v. Alliance Bond
  Fund, Inc., 527 U.S. 308 (1999) (“GMD”), in arguing that this injunction is beyond the Court’s
  authority. GMD does not apply. In GMD, the Supreme Court held that an unsecured creditor
  was not entitled to a preliminary injunction prohibiting defendant’s dissipation of assets as a
  provisional remedy at the outset of the litigation and prior to entry of judgment in a case where
  there were no equitable claims, but only claims at law for money damages. Here, the Court has
  already entered judgment and the case includes equitable claims. GMD is particularly
  inapplicable to the equitable relief that DuPont seeks regarding assets tainted with its stolen trade
  secrets because, as the Fourth Circuit observed in United States ex rel. Rahman v. Oncology
  Associates, P.C., 198 F.3d 489, 496 (4th Cir. 1999), GMD only applies to freezing injunctions on
  claims seeking solely monetary damages.


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  II.    AN ASSET FREEZE INJUNCTION IS NECESSARY TO PREVENT KOLON
         FROM DISSIPATING IT ASSETS OR SECRETING THEM OUTSIDE OF THE
         UNITED STATES.

         In determining whether an asset-freeze injunction was appropriate, the Uranium Antitrust

  court applied the traditional prerequisites for a preliminary injunction:

                 (1)     The plaintiffs have no adequate remedy at law and will be
                         irreparably harmed if the injunction does not issue;

                 (2)     The threatened injury to the plaintiffs outweighs the threatened
                         harm the injunction may inflict on the defendant;

                 (3)     The plaintiffs have at least a reasonable likelihood of success on
                         the merits; and

                 (4)     The granting of a preliminary injunction will not disserve the
                         public interest.

  617 F.2d at 1260-61. See also U.S. Dept. of Labor v. Wolf Run Mining Co., Inc., 452 F.3d 275,

  280 (4th Cir. 2006) (articulating the same test for preliminary injunctions in the Fourth Circuit).

         If Kolon is permitted to divest or transfer assets, DuPont would suffer an irreparable

  harm without legal remedy. See Uranium Antitrust, 617 F.2d at 1261 (“There is no remedy at

  law which could effectively prevent the removal of the defaulter's assets from the jurisdiction of

  the United States Courts…With regard to the requisite threat of irreparable harm, it is evident

  that without the Court's use of injunctive powers the plaintiffs’ ability to satisfy the judgment

  would be seriously jeopardized.”) Here, where (i) the jury found that Kolon willfully and

  maliciously misappropriated DuPont’s trade secrets, (Jury Verdict, D.I. 1514), and (ii) the Court

  found that Kolon intentionally spoliated evidence, (Memorandum Opinion, D.I. 1249), Kolon’s

  hiding of assets is no mere threat.

         Moreover, the proposed injunction also would not place an onerous burden on Kolon.

  The injunction simply requires prior approval of transfers or divestment of assets in excess of



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  $50,000. All Kolon need do to avoid this reasonable restriction is to post a supersedeas bond. In

  contrast, the threatened injury to DuPont is substantial.

         The last two factors are also satisfied. DuPont has already prevailed on the merits. A

  freeze of Kolon’s assets would not disserve any cognizable public interest. To the contrary,

  entry of the injunction “serves a strong national interest in effective and meaningful

  enforcement” of trade secrets law. See Uranium Antitrust, 617 F.2d at 1261.

                                           CONCLUSION

         For the foregoing reasons, DuPont respectfully requests that its Motion for Asset Freeze

  be granted.

                                                Respectfully submitted,

                                                E. I. du Pont de Nemours and Company

  Dated: September 16, 2011                           /s/ Rodney A. Satterwhite
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